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Exhibit C

 

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CAUSE NO' --_---_-_-- TH DISTR|CT CLERK
APOLINAR VILLA AND JANETH § IN THE DISTRICT COURT OF
AGUILAR-MARTINEZ, §
Plaintiffs, §
§
v. § TARRANT COUNTY, TEXAS
§
ALLSTATE TEXAS LLOYD'S, §
ASHLEY WADE, AND MARGARET §
SCOTT, §
Defendants. § .IUDICIAL DISTRIC l`

 

PLAINTIFFS’ ORIGINAL PETITION

 

2. Plaintiffs Apolinar Villa and Janeth Aguilar-Martinez are individuals residing in Tarran1

TO THE HONORABLE JUDGE OF SAID COURT:

COME NOW, Apolinar Villa and Janeth Aguilar-Martinez (“Plaintiffs”) and file this

Plaintijj€s’ Orl'gz`nal Petition, complaining of Allstate Texas Lloyd's (“Allstate”), Ashley Wade

(“Wade”), and Margaret “Peggy” J. Scott (“Scott”) (collectively referred to as “Defenda;nts”)
and for cause of action, Plaintiffs Would respectfully ShoW this Honorable Court the following:
DISCOVERY CONTROL PLAN
l. Plaintiffs intend for discovery to be conducted under Level 3 of Rule 190 of the Texas
Rules of Civil Procedure. This case involves complex issues and will require extensive
discovery. Therefore, Plaintiffs Will ask the Court to order that discovery be conducted ir
accordance With a discovery control plan tailored to the particular circumstances of this

suit.

PARTIES

County, Texas.

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3. Defendant Allstate is an insurance company engaging in the business of insurance in the
State of Texas. This defendant may be served With personal process, by a process server
by serving its Attorney for Service, C T Corporation System, 1999 Bryan Street, Suite
900, Dallas, TeXas 75201.

4. Defendant Ashley Wade is an individual residing in and domiciled in the State of Texas
This defendant may be served With personal process by a process server at its place of
residence at l 1444 Vance Jackson Road, Apt. 2309, San Antonio, Texas 78230.

5. Defendant Margaret “Peggy” J. Scott is an individual residing in and domiciled in the
State of Texas. This defendant may be served With personal process by a process server
at her place of residence at 1041 Ferndale Ave., Azle, TX 7602().

JURISDICTIGN

6. The Court has jurisdiction over this cause of action because the amount in controversy is
Within the jurisdictional limits of the Court. Plaintiffs are seeking monetary relief over
$200,000 but not more than $1,000,000. Plaintiffs reserve the right to amend their
petition during and/or after the discovery process.

7 . The Court has jurisdiction over Defendant Allstate because this defendant is a domestic
insurance company that engages in the business of insurance in the State of Texas, and
Plaintiffs’ causes of action arise out of this defendant’s business activities in the State of
TeXas.

8. The Court has jurisdiction over Defendant Wade because this defendant engages in the
business of adjusting insurance claims in the State of Texas, and Plaintiffs’ causes of

action arise out of this defendant’s business activities in the State of Texas.

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The Court has jurisdiction over Defendant Scott because this defendant engages in th

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business of adjusting insurance claims in the State of Texas, and Plaintiffs’ causes of

action arise out of this defendant’s business activities in the State of Texas.
VENUE

Venue is proper in Tarrant County, Texas, because the insured property is situated in

Tarrant County, Texas. TEX. CIV. PRAC. & REM. CODE §15.032.
FACTS

Plaintiffs are the owners of a Texas Homeowners’ lnsurance Policy (hereinafter referred

to as “the Policy”), Which Was issued by Allstate.

Plaintiffs own the insured property, which is specifically located at 712 East Timber

VieW Lane , Arlington, Texas 76014, in Tarrant County (hereinafter referred to as “th<

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Property”).
Allstate sold the Policy insuring the Property to Plaintiffs.
On or about March 17, 2016, a hail storm and/or windstorm struck Tarrant County,

Texas, causing severe damage to homes and businesses throughout the area, includingr

Plaintiffs’ residence Speciflcally, Plaintiffs' roof sustained extensive damage during the

storm. Water intrusion through the roof caused significant damage throughout the entir<d
home and garage including, but not limited to, the home’s ceilings, Walls, and insulation
Plaintiffs' home also sustained substantial structural and exterior damage during the
storm, Furthermore, Plaintiffs' fence, storage unit(s), porch, air conditioning unit, and
mailbox also sustained significant damage After th_e storm, Plaintiffs filed a claim With

their insurance company, Allstate, for the damages to their home caused by the hail storm

and/or Windstorm.

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Plaintiffs submitted a claim to Allstate against the Policy for Other Structure Damage,
Roof Damage, Structural Damage, Water Damage, and Wind Damage the Property
sustained as a result of the hail storm and/or Windstorm.
Plaintiffs asked that Allstate cover the cost of repairs to the Property, including but not
limited to, repair and/or replacement of the roof and repair of the gutters, siding and
interior Water damages to the Property, pursuant to the Policy.
Defendant Allstate assigned Defendants Wade and Scott as the individual adjusters on the
claim. The adjusters assigned to Plaintiffs’ claim were improperly trained and failed tc
perform a thorough investigation of Plaintiffs’ claim. On or about l\/lay 7, 2016?
Defendant Allstate assigned Defendant Wade and/or Defendant Scott as the adjusters or
the claim. The adjusters assigned to Plaintiffs’ claim Were improperly trained and failed
to perform a thorough investigation of Plaintiffs’ claim. Speciflcally, Defendant Wade
and/or Defendant Scott conducted a substandard inspection of Plaintiffs’ Property. Wade
and/or Scott failed to properly scope Plaintiffs’ damages, underestimated and
undervalued the cost of repairs to the damaged items, thereby failing to allow adequate
funds to cover the cost of repairs to all the damages sustained Furthermore, Wade and/or
Scott failed to give Plaintiffs an adequate explanation as to why they undervalued and
omitted so many of the damages, as well as Why they only allowed minimum
compensation for damages to the roof, storage unit, and mailbox. Although Wade and/or
Scott were aware of Plaintiffs’ reported potential damages covered by the Policy, they
made determinations as to the amount of Plaintiffs’ claim without conducting thorough
and reasonable inspection of Plaintiffs’ damages The adjusters omitted many of

Plaintiffs’ damages including, but not limited to, the gutters, storage unit(s), porch,

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Window screens, garage, air conditioning unit, as Well as many interior and exterior
structural damages Ultimately, Defendant Wade and/or Defendant Scott determined that
the damages Were not covered under the Policy, thus only a partial payment Would be
made on the claim. Wade’s and/or Scott’s inadequate investigation Was relied upon by
Defendant Allstate in this action and resulted in Plaintiffs’ claim being undervalued and
underpaid. Further, Defendant Wade corresponded With Plaintiffs regarding their claim
in letters and/or reviewed reports, documents and information regarding the claim.
Defendant Allstate, along with other Allstate personnel, failed to thoroughly review and
properly oversee the Work of the assigned claims representative and adjusters, including
Defendants Wade and Scott, ultimately approving an improper adjustment of and an
inadequate, unfair settlement of Plaintiffs’ claim. Further, Defendants misrepresented
that many of Plaintiffs’ damages Were not covered under the Policy, when the losses, in
fact, were properly covered damages Allstate denied many parts of Plaintiffs’ claim
without performing a reasonable investigation ln particular, Allstate took the position
that the damages caused by the March l'7, 2016, hail storm and/or windstorm were not al

covered under the Policy. As a result of Defendants’ wrongful acts and omissions set
forth above and further described herein, Plaintiffs Were considerably underpaid on their
claim and have suffered damages

Together, Defendants Allstate, Wade, and Scott set about to deny and/or underpay or
properly covered damages As a result of these Defendants’ unreasonable investigation
of the claim, including not providing full coverage for the damages sustained by
Plaintiffs, as well as under-scoping the damages during their investigation, thus denying

adequate and sufficient payment to Plaintiffs to repair their home, Plaintiffs’ claim Was

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improperly adjusted The mishandling of Plaintiffs’ claim has also caused a delay in their

ability to fully repair their horne, which has resulted in additional damages To this date
Plaintiffs have yet to receive the full payment to Which they are entitled under the Policy.
Together, Defendants Allstate, Wade, and _Scott set out to deny and/or underpay or
properly covered damages As a result of this unreasonable investigation, including the
under-scoping of Plaintiffs’ storm damages during the investigation and failure to provide
full coverage for the damages sustained, Plaintiffs’ claim was improperly adjusted, and
they were denied adequate and sufficient payment to repair their home. The mishandling
of Plaintiffs’ claim has also caused a delay in their ability to fully repair their home
which has resulted in additional damages To date, Plaintiffs have yet to receive the ful
payment to Which they are entitled under the Policy. z
As detailed in the paragraphs below, Allstate wrongfully denied Plaintiffs’ claim forl
repairs of the Property, even though the Policy provided coverage for losses such as those
suffered by Plaintiffs Furthermore, Allstate underpaid some of Plaintiffs’ claims by not
providing full coverage for the damages sustained by Plaintiffs, as well as under-scoping
the damages during its investigation
To date, Allstate continues to delay in the payment for the damages to the property. As

such, Plaintiffs have not been paid in full for the damages to their home.

Defendant Allstate failed to perform its contractual duties to adequately compensate

Plaintiffs under the terms of the Policy. Specifically, it refused to pay the full proceeds of

the Policy, although due demand was made for proceeds to be paid in an amount

sufficient to cover the damaged property, and all conditions precedent to recovery upon

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the Policy had been carried out and accomplished by Plaintiffs Allstate’s conduct
constitutes a breach of the insurance contract between Allstate and Plaintiffs

Defendants Allstate, Wade, and Scott misrepresented to Plaintiffs that the damage to the
Property was not covered under the Policy, even though the damage was caused by a
covered occurrence Defendants Allstate’s, Wade’s, and Scott’s conduct constitutes a
violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE
§541.060(a)(l).

Defendants Allstate, Wade, and Scott failed to make an attempt to settle Plaintiffs’ claim
in a fair manner, although they Were aware of their liability to Plaintiffs under the Policyz
Defendants Allstate’s, Wade’s, and Scott’s conduct constitutes a violation of the Texas
Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(2)(A).
Defendants Allstate, Wade, and Scott failed to explain to Plaintiffs the reasons for their
offer of an inadequate settlement Specifically, Defendants Allstate, Wade, and Scot1
failed to offer Plaintiffs adequate compensation, without any explanation why ful
payment Was not being made. Furthermore, Defendants Allstate, Wade, and Scott did not
communicate that any future settlements or payments Would be forthcoming to pay for
the entire losses covered under the Policy, nor did they provide any explanation for the
failure to adequately settle Plaintiffs’ claim. Defendants Allstate’s, Wade’s, and Scott’s
conduct is a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX
le. CoDE §54_1.060(a)(3).

Defendants Allstate, Wade, and Scott failed to affirm or deny coverage of Plaintiffs’
claim within a reasonable time. Specifically, Plaintiffs did not receive timely indication

of acceptance or rejection, regarding the full and entire claim, in writing from Defendants

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Allstate, Wade, and Scott. Defendants Allstate’s, Wade’s, and Scott’s conduct
constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX
INS. CODE §541.060(a)(4).

Defendants Allstate, Wade, and Scott refused to fully compensate Plaintiffs, under the
terms of the Policy, even though Defendants Allstate, Wade, and Scott failed to conduct a
reasonable investigation Specifically, Defendants Allstate, Wade, and Scott performed
an outcome-oriented investigation of Plaintiffs’ claim, which resulted in a biased, unfair
and inequitable evaluation of Plaintiffs’ losses on the Property. Defendants Allstate’s
Wade’s, and Scott’s conduct constitutes a violation of the Texas Insurance Code, Unfair
Settlement Practices. TEX. INS. CODE §54l.O60(a)(7).

Defendant Allstate failed to meet its obligations under the Texas Insurance Code

regarding timely acknowledging Plaintiffs’ claim, beginning an investigation of

Plaintiffs’ claim, and requesting all information reasonably necessary to investigate
Plaintiffs’ claim, within the statutorily mandated time of receiving notice of Plaintiffs’
claim. Allstate’s conduct constitutes a violation of the Texas Insurance Code, Prompt

Payment of Claims. TEX. INS. CODE §542.055.

Defendant Allstate failed to accept or deny Plaintiffs’ full and entire claim within the
statutorily mandated time of receiving all necessary information Allstate’s conduct
constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX
INS. CODE §542.056.

Defendant Allstate failed to meet its obligations under the Texas Insurance Code
regarding payment of claim without delay. Specifically, it has delayed full payment of

Plaintiffs’ claim longer than allowed and, to date, Plaintiffs have not received full

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payment for their claim. Allstate’s conduct constitutes a violation of the Texas Insurance
Code, Prompt Payment of Claims. TEX. INS. CODE §542.058.

32. From and after the time Plaintiffs’ claim was presented to Defendant Allstate, the liability
of Allstate to pay the full claim in accordance with the terms of the Policy Was reasonably
clear. However, Allstate has refused to pay Plaintiffs in full, despite there being no basis
whatsoever on Which a reasonable insurance company Would have relied to deny the full
payment Allstate’s conduct constitutes a breach of the common law duty of good faith
and fair dealing.

33. Defendants Allstate, Wade, and Scott knowingly or recklessly made false representations,
as described above, as to material facts and/or knowingly concealed all or part of material
information from Plaintiffs

34. As a result of Defendants Allstate’s, Wade’s, and Scott’s wrongful acts and omissions,
Plaintiffs were forced to retain the professional services of the attorney and law firm whc
are representing them with respect to these causes of action

35. Plaintiffs’ experience is not an isolated case. The acts and omissions Allstate committed
in this case, or similar acts and omissions, occur with such frequency that they constitute
a general business practice of Allstate With regard to handling these types of claims
Allstate's entire process is unfairly designed to reach favorable outcomes for the company

at the expense of the policyholders

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CAUSES OF ACTION:
CAUSES or ACTIoN AGAleT DEFENDANTS WADE AND SCoTT

NoNCoMPLIANCE WITH TEXAS INSURANCE CoDE:
UNFAIR SETTLEMENT PRACTICES

36. Defendant Allstate assigned Defendants Wade and Scott to adjust the claim. Defendants
Wade and Scott were improperly trained to handle claims of this nature and performed an
unreasonable investigation of Plaintiffs’ damages During their investigation the
adjusters failed to properly assess Plaintiffs’ hail storm and/or windstorm damages The
adjusters also omitted covered damages from their reports, including many of Plaintiffs
interior damages ln addition, the damages that the adjusters did include in the estimate
were severely underestimated §

37. Defendants Wade’s and Scott’s conduct constitutes multiple violations of the Texas
Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a). Al
violations under this article are made actionable by TEX. INS. CODE §541.151.

38. Defendants Wade and Scott are each individually liable for their unfair and deceptive

acts, irrespective of the fact each was acting on behalf of Allstate, because each is a

“person” as defined by TEX. INS. CODE §541.002(2). The term “person” is defined as
“any individual, corporation, association partnership, reciprocal or interinsurance
exchange, Lloyds plan, fraternal benefit society, or other legal entity engaged in the
business of insurance, including an agent, broker, adjuster or life~and health insurance
counselor.” TEX. INS. CODE §54l.002(2) (emphasis added). (See also Lz`berty Mutual
Insurance Co. v. Garrison Contmctors, ]nc., 966 S.W.2d 482, 484 (Tex. 1998) (holding

an insurance company employee to be a “person” for the purpose of bringing a cause of

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action against him or her under the Texas Insurance Code and subjecting him or her t)
individual liability)).

39. Falsehoods and misrepresentations may be communicated by actions as well as by thc

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spoken word; therefore, deceptive conduct is equivalent to a verbal representation
Defendants’ misrepresentations by means of deceptive conduct include, but are not
limited to: (l) failing to conduct a reasonable inspection and investigation of Plaintiffs

damages; (2) stating that Plaintiffs’ damages were less severe than they in fact were; (3

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using their own statements about the non-severity of the damage as a basis for denying7
properly covered damages and/or underpaying damages; and (4) failing to provide an
adequate explanation for the inadequate compensation Plaintiffs received. Defendants
Wade’s and Scott’s unfair settlement practice, as described above and the example given
herein, of misrepresenting to Plaintiffs material facts relating to the coverage at issue,
constitutes an unfair method of competition and an unfair and deceptive act or practice in
the business of insurance. TEX. INS. CODE §541.060(a)(l).

4(). Defendants Wade’s and Scott’s unfair settlement practice, as described above, of failing
to attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim,
even though liability under the Policy is reasonably clear, constitutes an unfair method of
competition and an unfair and deceptive act or practice in the business of insurance. TEX
INS. CODE §541.060(a)(2)(A).

41. Defendants Wade and Scott failed to explain to Plaintiffs the reasons for their offer of an
inadequate settlement Specifically, Defendants Wade and Scott failed to offer Plaintiffs
adequate compensation without any explanation as to why full payment was not beingr

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made. Furthermore, Defendants did not communicate that any future settlements or

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payments Would be forthcoming to pay for the entire losses covered under the Policy, no

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did they provide any explanation for the failure to adequately settle Plaintiffs’ claim. Th<.
unfair settlement practice of Defendants Wade and Scott as described above, of failing tc
promptly provide Plaintiffs with a reasonable explanation of the basis in the Policy, in
relation to the facts or applicable law, for the offer of a compromise settlement of
Plaintiffs’ claim, constitutes an unfair method of competition and an unfair and deceptive

act or practice in the business of insurance. TEX. INS. CODE §541.060(a)(3).

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42. Defendants Wade’s and Scott’s unfair settlement practice, as described above, of failing
Within a reasonable time to affirm or deny coverage of the claim to Plaintiffs, or tc
submit a reservation of rights to Plaintiffs, constitutes an unfair method of competition
and an unfair and deceptive act or practice in the business of insurance TEX. INS. CODE
§541.060(a)(4).

43. Defendants Wade and Scott did not properly inspect the Property and failed to account
for and/or undervalued many of Plaintiffs’ exterior and interior damages, althougr
reported by Plaintiffs to. Allstate Defendants Wade’s and Scott’s unfair settlemem
practice, as described above, of refusing to pay Plaintiffs’ claim without conducting a
reasonable investigation, constitutes an unfair method of competition and an unfair and
deceptive act or practice in the business of insurance TEX. INS. CODE §541.060(a)(7).

CAUsEs oF ACTloN AGAINST ALL DEFENDANTS

44. Plaintiffs are not making any claims for relief under federal law.

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FRAUD

45. Defendants Allstate, Wade, and Scott are liable to Plaintiffs for common law fraud.

46. Each and every one of the representations as described above, concerned material facts
for the reason that absent such representations Plaintiffs would not have acted as they
did, and which Defendants Allstate, Wade, and Scott knew were false or made recklessly
without any knowledge of their truth as a positive assertion

47. The statements were made with the intention that they should be acted upon by Plaintiffs
who in turn acted in reliance upon the statements thereby causing Plaintiffs to suffer
injury and constituting common law fraud.

CoNsPlRACY ro CoMMlT FRAUD §

48. Defendants Allstate, Wade, and Scott are liable to Plaintiffs for conspiracy to commit
fraud. Defendants Allstate, Wade, and Scott were members of a combination of two or
more persons whose objectwas to accomplish an unlawful purpose or a lawful purpose
by unlawful means In reaching a meeting of the minds regarding the course of action tc
be taken against Plaintiffs Defendants Allstate, Wade, and Scott committed an unlawful
overt act to further the object or course of action Plaintiffs suffered injury as a

proximate result.

WAIVER

49. While denying that any provision of the policy at issue or any statute, code provision
(including the Prompt Payment of Claims Act), or law required Plaintiffs to provide
written notice of claim as a condition or requirement to recover damages penalties
interest or attorneys’ fees pursuant to contract or any Texas law (including the Prompt

Payment of Claims Act), Plaintiffs hereby assert (separately or in the alternative to the

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foregoing) that Defendants have waived, or otherwise intentionally relinquished, any
right to any written notice of claim from Plaintiffs under the policy at issue or under any

applicable law (including but not limited to any provision of the Prompt Payment of

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Claims Act), Additionally (and, again, separately or in the alternative), Defendants hav<

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Waived, or otherwise intentionally relinquished, any right to assert that Plaintiffs arc
barred from recovering damages penalties interest or attomeys’ fees pursuant tr
contract, applicable law and otherwise, for lack of written notice under the policy or
under any Texas law (including but limited to any provision under the Prompt Payment
of Claims Act).
CAUSES OF ACTION AGAINST ALLSTATE ONLY
Defendant Allstate is liable to Plaintiffs for intentional breach of contract, as well as
intentional violations of the Texas Insurance Code, and intentional breach of the common
law duty of good faith and fair dealing.
BREACH or CoNTRACT
Defendant Allstate’s conduct constitutes a breach of the insurance contract made between
Allstate and Plaintiffs
Defendant Allstate’s failure and/or refusal, as described above, to pay the adequate
compensation as it is obligated to do under the terms of the Policy in question, and under
the laws of the State of Texas, constitutes a breach of Allstate’s insurance contract with

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Plaintiffs

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NoNCoMPLIANCE WITH TExAs INsURANCE CODE:
UNFAIR SETTLEMENT PRACTICES

53. Defendant Allstate’s conduct constitutes multiple violations of the Texas Insurance Code,
Unfair Settlement Practices. TEX. INS. CODE §54].060(a). All violations under this
article are made actionable by TEX. INS. CODE §54].151.

54. Defendant Allstate’s unfair settlement practice, as described above, of misrepresenting tc
Plaintiffs material facts relating to the coverage at issue, constitutes an unfair method of
competition and an unfair and deceptive act or practice in the business of insurance TEX.
INS. CODE §541.060(a)(1).

55 . Defendant Allstate’s unfair settlement practice, as described above, of failing to attempt
in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even
though Allstate’s liability under the Policy was reasonably clear, constitutes an unfair
method of competition and an unfair and deceptive act or practice in the business of
insurance TEX. INS. CODE §541.060(a)(2)(A).

56. Defendant Allstate’s unfair settlement practice, as described above, of failing to promptly
provide Plaintiffs with a reasonable explanation of the basis in the Policy, in relation tc
the facts or applicable law, for its offer of a compromise settlement of the claim
constitutes an unfair method of competition and an unfair and deceptive act or practice in
the business of insurance TEX. INS. CODE §541.060(a)(3).

57. Defendant Allstate’s unfair settlement practice, as described above, of failing within a
reasonable time to affirm or deny coverage of the claim to Plaintiffs or to submit a
reservation of rights to Plaintiffs constitutes an unfair method of competition and an
unfair and deceptive act or practice in the business of insurance TEX. INS. CODE

§541.060(3)(4). a

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Defendant Allstate’s unfair settlement practice, as described above, of refusing to pay
Plaintiffs’ claim without conducting a reasonable investigation constitutes an unfair
method of competition and an unfair and deceptive act or practice in the business of
insurance TEX. INS. CODE §541.060(a)(7).

NoNCoMPLIANCE wITH TExAs INSURANCE Col)n:
THE PRoMPr PAYMENT or CLAIMs

Defendant Allstate’s conduct constitutes multiple violations of the Texas Insurance Code
Prompt Payment of Claims. All violations made under this article are made actionable by

TEx. le. CODE §542.060.

 

Defendant Allstate’s failure to acknowledge receipt of Plaintiffs’ claim, commencei
investigation of the claim, and request from Plaintiffs all items statements and forms§
that it reasonably believed would be required within the applicable time constraints as
described above, constitutes a non-prompt payment of claims and a violation of TEX. lNS
CODE §542.055.

Defendant Allstate’s failure to notify Plaintiffs in writing of its acceptance or rejection of
the claim within the applicable time constraints constitutes a non-prompt payment of the
claim. TEx. INS. CODE §542.056.
Defendant Allstate’s delay of the payment of Plaintiffs’ claim following its receipt of all
items statements and forms reasonably requested and required, longer than the amount
of time provided for, as described above, constitutes a non-prompt payment of the claim
TEX. INS. CODE §542.058.

ACTs CoNsTITUTING ACTING As AGENT

As referenced and described above, and further conduct throughout this litigation and

lawsuit, Wade and Scott are agents of Allstate based on their acts during the handling of

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this claim, including inspections adjustments and aiding in adjusting a loss for or on
behalf of the insurer. TEX. INS. CODE §4001.051.
Separately, and/or in the alternative as referenced and described above, Allstate ratified
the actions and conduct of Wade and Scott including the completion of their duties under
the common law and statutory law.

BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING
Defendant Allstate’s conduct constitutes a breach of the common law duty of good faith

and fair dealing owed to insureds in insurance contracts

 

Defendant Allstate’s failure, as described above, to adequately and reasonably investigate
and evaluate Plaintiffs’ claim, although, at that time, Allstate knew or should have knowr:i
by the exercise of reasonable diligence that its liability was reasonably clear, constitutes a:
breach of the duty of good faith and fair dealing l

KNOWLEDGE
Each of the acts described above, together and singularly, was done “knowingly,” as that
term is used in the Texas Insurance Code, and was a producing cause of Plaintiffs
damages described herein

DAMAGES

Plaintiffs would show that all of the aforementioned acts taken together or singularly
constitute the producing causes of the damages sustained by Plaintiffs
As previously mentioned, the damages caused by the March 17, 2016, hail storm have

not been properly addressed or repaired in the months since the storm, causing further

damages to the Property, and causing undue hardship and burden to Plaintiffs These

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damages are a direct result of Defendants Allstate’s Wade’s, and Scott’s mishandling of
Plaintiffs’ claim in violation of the laws set forth above

For breach of contract, Plaintiffs are entitled to regain the benefit of their bargain, which
is the amount of their claim, together with attorney’s fees

For noncompliance with the Texas Insurance Code, Unfair Settlement Practices
Plaintiffs are entitled to actual damages Which include the loss of the benefits that should
have been paid pursuant to the policy, mental anguish, court costs and attorney's fees
For knowing conduct of the acts described above, Plaintiffs ask for three times their
actual damages TEX. INS. CODE §541.152.
F or noncompliance with Texas Insurance Code, Prompt Payment of Claims Plaintiffs are
entitled to the amount of their claim, as Well as eighteen (18) percent interest per annum
on the amount of such claim as damages together with attorney's fees TEX. INS. CODE
§542.060.
F or breach of the common law duty of good faith and fair dealing, Plaintiffs are entitled
to compensatory damages including all forms of loss resulting from the insurer's breach
of duty, such as additional costs economic hardship, losses due to nonpayment of the
amount the insurer owed, exemplary damages and damages for emotional distress
For fraud, Plaintiffs are entitled to recover actual damages and exemplary damages for
knowingly fraudulent and malicious representations along with attorney’s fees interest,
and court costs
F or the prosecution and collection of this claim, Plaintiffs have been compelled to engage
the services of the attorney whose name is subscribed to this pleading Theref`ore,

Plaintiffs are entitled to recover a sum for the reasonable and necessary services of

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Plaintiffs’ attorney in the preparation and trial of this action, including any appeals to th

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Court of Appeals and/or the Supreme Court of Texas.
JURY DEMAND
76. Plaintiffs hereby request that all causes of action alleged herein be tried before a jury

consisting of citizens residing in Tarrant County, Texas. Plaintiffs hereby tender th

tv

appropriate jury fee
WRITTEN DISCOVERY
REQUESTS FoR DIsCLoSURE
77. Plaintiffs’ Requesl' for Disclosure to Defendant Allstate Texas Lloyd's is attached as
“Exhibit A.” Plaintiffs’ Requestfor Dz'sclosure to Defendant Ashley Wade is attached a;
“Exhibit A-`l.” Plaintiffs’ Request for Disclosure to Defendant Margaret “Peggy” J

Scott is attached as “Exhibit A-2.”

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WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that upon trial hereof, said
Plaintiffs have and recover such sums as would reasonably and justly compensate them in
accordance with the rules of law and procedure, as to actual damages treble damages under the
Texas Insurance Code, and all punitive and exemplary damages as may be found. In addition
Plaintiffs request the award of attorney’S fees for the trial and any appeal of this case, for all
costs of Court on their behalf expended-, for prejudgment and postjudgment interest as allowed

by law, and for any other and further relief, either at law or in equity, to which they may show

themselves justly entitled.

PRAYER

Respectfully submitted,

MosTYN LAW

/s/ René M. Sigman
René M. Sigman
State Bar No. 24037492
rmsdocketefile@mostynlaw.com
3810 West Alabama Street

Houston, Texas 77027
(713) 714-0000 (ofnce)

(713) 714-1111 (Facsimile)

ATTORNEY FOR PLAINTIFFS

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“EXHIBIT A”
CAUSE NO.
APOLINAR VILLA AND JANETH § IN THE DISTRICT COURT OlF
AGUILAR-MARTINEZ, §
Plaintijfs, §
§
v. § TARRANT COUNTY, TEXAS
§
ALLSTATE TEXAS LLOYD'S, §
ASHLEY WADE, AND MARGARET §
SCOTT, § ~
Defendants § JUDICIAL DISTRICT

PLAINTIFFS’ REOUEST FOR DISCLOSURE TO DEFENDANT
ALLSTATE TEXAS LLOYD'S

TO:

DEFENDANT ALLSTATE TEXAS LLOYD'S, by and through its Registered Agent: C

T Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiffs request that the

above-named Defendant, Allstate Texas Lloyd's (hereinafter referred to as “Defendant”)

disclose, Within fifty-one (51) days after the date of service of this request, the information or

material described in Rule 194.2.

Respectfully submitted,

MosTYN LAW

/s/ Rene' M. Sl`£man
René M. Sigman
State Bar No. 24037492
rmsdocketefile@mostynlaw.com
3810 West Alabama Street
Houston, Texas 77027
(713) 714-0000 (Office)
(713)714-1111 (Facsimire)

ATTORNEY FOR PLAINTIFFS

 

Case 4:17-cV-00492-O-BP Document1-3 Filed 06/16/17 Page 23 of 24 Page||§

“EXHIBIT A-l”

CAUSE NO.

APOLINAR VILLA AND JANETH
AGUILAR-MARTINEZ,
Plaintiffs

V.

ALLSTATE TEXAS LLOYD'S,
ASHLEY WADE, AND MARGARET
SCOTT,

Defendants

§ IN THE DISTRICT COURT or
§
§
§
§ TARRANT CoUNTY, TEXA
§
§
§
§
§ _ JUDICIAL DISTRICr

PLAINTIFFS' REOUEST FOR DISCLOSURE TO DEFENDANT
ASHLEY WADE

TO:
Antonio, Texas 7 8230.

DEFENDANT ASHLEY WADE, at 11707 Vance Jackson Road, Apt. 1404, San

Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiffs request that the
above-named Defendant, Ashley Wade (hereinafter referred to as “Defendant”), disclose within
fifty-one (51) days after the date of service of this request, the information or material described

in Rule 194.2.

Respectfully submitted,

MOSTYN LAW

/s/ René M Sigman
René M. Sigman
State Bar No. 24037492
nnsdocketefile@mostynlaw.com
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(713) 714-0000 (Office)
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ATTORNEY FOR PLAINTIFFS

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VJ

 

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“EXHIBIT A-Z”

CAUSE NO.

APOLINAR VILLA AND JANETH

AGUILAR-MARTINEZ,
Plaintiffs

V.

ALLSTATE TEXAS LLOYD'S,

ASHLEY WADE, AND MARGARET

SCOTT,
Defendants

PLAINTIFFS' REOUEST FOR DISCLOSURE TO DEFENDANT

@CMCDDFMWJMWJCMMWO

MARGARET “PEGGY” J. SCOTT

TO: DEFENDANT MARGARET “PEGGY” J. SCOTT, at 1041 Ferndale Avenue, Azle§

Texas 76020.

Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiffs request that the
above-named Defendant, Margaret “Peggy” J. Scott (hereinafter referred to as “Defendant”)
disclose, within fifty-one (51) days after the date of service of this request, the information or

material described in Rule 194.2.

Respectfully submitted,

MOSTYN LAW

/s/ Rene' M Sigman
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(713) 714-1111 (Facsimile)

ATTORNEY FOR PLAINTIFFS

IN THE DISTRICT COURT OlF`

TARRANT COUNTY, TEXA

JUDICIAL DISTRICT

 

